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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

      UNITED STATES OF AMERICA

      vs.                                           CASE NO. 6:06-CR-125-ORL-19KRS

      JUAN CHAPPELL ALEXANDER

                                               ORDER

              This case having been considered by the Court on Report and Recommendation

      Concerning Plea of Guilty (Doc. No. 665, filed October 10, 2006) and no objection thereto

      having been filed, it is ORDERED:

              1.     The Report and Recommendation of the United States Magistrate Judge (Doc.

      No. 665) is ACCEPTED, AFFIRMED AND ADOPTED.

              2.     Defendant Juan Chappell Alexander has entered a plea of guilty to Count One

      of the First Superseding Information knowingly, intelligently and voluntarily. Such plea is

      accepted, and Defendant is adjudicated guilty of Count One of the First Superseding

      Information.

              3.     Ruling on acceptance of the Plea Agreement (Doc. No. 651, filed October 10,

      2006) is deferred until the time of sentencing.

              DONE AND ORDERED at Orlando, Florida, this             12th       day of October,

      2006.
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      Copies to:
      Assistant United States Attorney
      Attorney for Defendant
      United States Marshal
      United States Probation
      United States Pretrial Services
      Defendant
      Courtroom Deputy
